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                                                          14                       UNITED STATES DISTRICT COURT
                                                          15                      CENTRAL DISTRICT OF CALIFORNIA
                                                          16                     (WESTERN DIVISION – LOS ANGELES)
                                                          17 GRANT MCKEE, TAYLOR FISSE,              Case No.: 2:17-cv-01941 GW (Ex)
                                                             BRYAN REES, ERIC WEBER, and
                                                          18 MICHAEL ROGAWSKI, individually          DECLARATION OF ANIKET
                                                             and on behalf of all others similarly   GUNE IN SUPPORT OF
                                                          19 situated,                               AUDIBLE’S MOTION TO
                                                                                                     DISMISS AND MOTION TO
                                                          20                 Plaintiffs,             COMPEL ARBITRATION AS TO
                                                                                                     PLAINTIFFS ERIC WEBER AND
                                                          21        v.                               MICHAEL ROGAWSKI
                                                          22 AUDIBLE, INC.,                          Date:      March 12, 2018
                                                                                                     Time:      8:30 AM
                                                          23                 Defendant.              Crtm:      9D
                                                                                                     Judge:     George H. Wu
                                                          24                                         Trial Date:NONE SET
                                                          25
                                                          26
                                                          27
                                                          28
                                                               GUNE DECL. ISO AUDIBLE’S
                                                               MTN TO COMPEL
                                                               ARBITRATION                               Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 2 of 13 Page ID #:1845



                                                          1
                                                                     I, Aniket Gune, declare as follows:
                                                          2
                                                                     1.     I am Senior Director of Product Management, at Audible, Inc. I have
                                                          3
                                                               worked at Audible since December 2013, and I have held my current position since
                                                          4
                                                               March 2016. My current job responsibilities include developing customer
                                                          5
                                                               experiences and supporting business operations for Audible’s premium services,
                                                          6
                                                               including Audible memberships, the Audible.com web domain, Audible apps
                                                          7
                                                               amongst other responsibilities. Before that, I served as a Director (and later Senior
                                                          8
                                                               Director) of Product Marketing, Amazon Retail and Devices. That earlier role
                                                          9
                                                               involved driving new Audible member acquisition, engagement and early retention
                                                          10
                                                               initiatives via Amazon.com retail web, apps, and devices along with other Amazon
                                                          11
                                                               subsidiaries such as Goodreads.com. Based on my job responsibilities and my
                                                          12
                                                               review of Audible’s business records, I am familiar with the agreements, customer
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                                                               sign-up and order process, and customer histories that I discuss in this declaration.
                                                          14
                                                               I make this declaration based on personal knowledge and records that Audible
                                                          15
                                                               keeps in the ordinary course of business. I am competent to and would testify to
                                                          16
                                                               the matters stated here.
                                                          17
                                                                                               The Audible Service
                                                          18
                                                                     2.     Audible is a digital audiobook and spoken audio information and
                                                          19
                                                               entertainment service. Audible offers more than 250,000 audiobooks that users can
                                                          20
                                                               listen to through the Audible app on a variety of devices. In addition to allowing
                                                          21
                                                               users to purchase audiobooks at regular prices, Audible offers membership services,
                                                          22
                                                               which are available on a monthly or annual subscription basis. With an Audible
                                                          23
                                                               membership, a member pays a monthly or annual fee, which depends on the
                                                          24
                                                               membership plan the customer chooses, and in exchange the customer receives a
                                                          25
                                                               number of benefits. Audible membership benefits include a 30% discount off the
                                                          26
                                                               regular price of audiobook purchases; unlimited listening to Audible Channels (an
                                                          27
                                                               on-demand audio entertainment service that offers original audio series and curated
                                                          28
                                                                GUNE DECL. ISO AUDIBLE’S
                                                                MTN TO COMPEL
                                                                ARBITRATION                                2      Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 3 of 13 Page ID #:1846



                                                          1
                                                               audio playlists); a complimentary subscription to the digital audio digest of The
                                                          2
                                                               Wall Street Journal or The New York Times; and the Great Listen Guarantee, which
                                                          3
                                                               allows members who are not fully satisfied with an Audible audiobook to rerun or
                                                          4
                                                               exchange it within 365 days of the original date of purchase.
                                                          5
                                                                     3.     As a benefit of Audible membership plans, members also have the
                                                          6
                                                               option to select one or more books each month or year (depending on their plan) at
                                                          7
                                                               no additional cost while their membership is active. Audible provides customers
                                                          8
                                                               with “credits” that they may use to redeem these books, and the number of
                                                          9
                                                               membership credits a customer receives each month or year varies by plan type.
                                                          10
                                                               For instance, those who subscribe to Audible’s “Gold Monthly” plan receive one
                                                          11
                                                               membership credit each month while their memberships are active. One
                                                          12
                                                               membership credit may be redeemed for one audiobook, regardless of the price of
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                                                               the book. As with other audiobook purchases through Audible, once a customer
                                                          14
                                                               redeems a credit for an audiobook, the audiobook is for the customer to keep—even
                                                          15
                                                               if the customer later cancels his or her membership. However, membership credits,
                                                          16
                                                               like other Audible membership benefits, expire when a user cancels his or her
                                                          17
                                                               membership.
                                                          18
                                                                     4.     Audible is a wholly-owned subsidiary of Amazon.com, Inc.
                                                          19
                                                               (“Amazon”). Its customers can purchase Audible audiobooks through the Audible
                                                          20
                                                               online storefront (at www.audible.com), through the Amazon desktop and mobile
                                                          21
                                                               websites, or using Fire tablets. Under every Audible logo, on every page of the
                                                          22
                                                               process, appeared the words “an amazon company.”
                                                          23
                                                                     5.     Additionally, Audible offers its members the flexibility to “roll” one or
                                                          24
                                                               more membership credits over into the next month, up to a maximum number that
                                                          25
                                                               varies by membership plan. For instance, under a “Gold Monthly” plan, members
                                                          26
                                                               receive and may redeem one membership credit each month for an audiobook, but
                                                          27
                                                               they can also “roll over” up to five membership credits a month for use later. Once
                                                          28
                                                               GUNE DECL. ISO AUDIBLE’S
                                                               MTN TO COMPEL
                                                               ARBITRATION                               3        Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 4 of 13 Page ID #:1847



                                                          1
                                                               a customer reaches the rollover limit, any additional unused credits from prior
                                                          2
                                                               months will no longer roll over. Audible’s records indicate that Plaintiff Eric
                                                          3
                                                               Weber never hit any rollover limits. Plaintiff Michael Rogawski hit the rollover
                                                          4
                                                               limit on his “Gold Monthly” membership on 12 occasions, meaning he lost 12
                                                          5
                                                               credits as a result of not redeeming them during the membership period in which
                                                          6
                                                               they were issued or the permitted rollover period. The Audible Service Conditions
                                                          7
                                                               of Use clearly state that membership credits “expire immediately upon the
                                                          8
                                                               termination of your membership.”
                                                          9
                                                                     6.     Audible does not allow users to sign up for an Audible membership
                                                          10
                                                               without either a new or existing Amazon account. Audible also allows users to
                                                          11
                                                               designate any of the credit cards on file for their Amazon account to pay for an
                                                          12
                                                               Audible membership or to add a new credit card to their Amazon account. Audible
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                                                          13
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                                                               discloses to customers that it will charge their designated cards or other cards on
                                                          14
                                                               file with their accounts. Audible’s business records show that Plaintiffs Weber and
                                                          15
                                                               Rogawski signed up for Audible using existing Amazon accounts, and they both
                                                          16
                                                               designated credit cards that they already had on file with Amazon.
                                                          17
                                                                     7.     When a user signs up for an Audible membership, Audible
                                                          18
                                                               automatically sends the new member a confirmation email that provides the
                                                          19
                                                               member with information about the Audible membership, including the
                                                          20
                                                               membership period and how to cancel. This process of automatically sending
                                                          21
                                                               confirmation emails was in place at the time that Messrs. Weber and Rogawski
                                                          22
                                                               each signed up for their respective Audible memberships.
                                                          23
                                                                                Plaintiff Rogawski’s Use of the Audible Service
                                                          24
                                                                     8.     I understand that Plaintiff Michael Rogawski bases his claims in this
                                                          25
                                                               lawsuit on transactions he performed on the Audible service since 2014. The
                                                          26
                                                               Second Amended Complaint states that Mr. Rogawski signed up for a 30-day trial
                                                          27
                                                               Gold membership in September 2014. Dkt. 65 at ¶¶ 20–23. In preparing this
                                                          28
                                                               GUNE DECL. ISO AUDIBLE’S
                                                               MTN TO COMPEL
                                                               ARBITRATION                               4        Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 5 of 13 Page ID #:1848



                                                          1
                                                               declaration, I have investigated Mr. Rogawski’s activity on the Audible service
                                                          2
                                                               from September 2014 to December 2017, and I have reviewed records that Audible
                                                          3
                                                               keeps in the ordinary course of business that reflect the disclosures that Mr.
                                                          4
                                                               Rogawski saw when signing up for and redeeming credits on the Amazon and
                                                          5
                                                               Audible services. I summarize this account history below.
                                                          6
                                                                       9.    On September 21, 2014, Mr. Rogawski signed up for an Audible
                                                          7
                                                               “Gold Monthly” membership that included a 30-day free trial on Audible.com,
                                                          8
                                                               using his existing Amazon account.
                                                          9
                                                                       10.   Between September 2014 and November 2017, Mr. Rogawski
                                                          10
                                                               redeemed membership credits for no fewer than seventeen audiobooks, and he did
                                                          11
                                                               so from both the Amazon and Audible website interfaces.
                                                          12
                                                                       11.   Audible keeps certain electronic records of when and on what platform
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                                                               users redeem Audible membership credits. These records are generated
                                                          14
                                                               automatically as part of the credit redemption process. I attach as Exhibit 1 to this
                                                          15
                                                               declaration a table of data pulled from Audible’s records for a credit redemption by
                                                          16
                                                               Mr. Rogawski on September 30, 2015. The columns titled “enc_customer_id” and
                                                          17
                                                               “customer_key” contain unique identifiers for Mr. Rogawski’s account, which have
                                                          18
                                                               been redacted to protect Mr. Rogawski’s privacy; the “purchase_datetime” and
                                                          19
                                                               “credit_consumed_date” field show when the credit redemption occurred, and the
                                                          20
                                                               “Channel Desc” field reflects what platform the redemption occurred on. This data
                                                          21
                                                               shows that, on September 30, 2015, Mr. Rogawski redeemed a credit on the
                                                          22
                                                               Amazon.com desktop website to pre-order a title that was released on October 5,
                                                          23
                                                               2015.
                                                          24
                                                                       12.   When using the Amazon.com desktop website to redeem audiobook
                                                          25
                                                               credits, Mr. Rogawski would have selected his audiobook, which would have sent
                                                          26
                                                               him to the corresponding webpage for the audiobook in the Amazon.com storefront.
                                                          27
                                                               Exhibit 2 is a screenshot of a webpage on the Amazon.com desktop website from
                                                          28
                                                               GUNE DECL. ISO AUDIBLE’S
                                                               MTN TO COMPEL
                                                               ARBITRATION                                5       Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 6 of 13 Page ID #:1849



                                                          1
                                                               which a user could redeem a membership credit for an Audible audiobook at the
                                                          2
                                                               time Mr. Rogawski engaged in the September 30, 2015 transaction. This
                                                          3
                                                               screenshot shows the webpage and disclosures that Mr. Rogawski saw when
                                                          4
                                                               redeeming his membership credit. The audiobook information would have been
                                                          5
                                                               different based on Mr. Rogawski’s selection and identified the title he selected as a
                                                          6
                                                               pre-order purchase, but the form and content of the disclosures would have been the
                                                          7
                                                               same. This screen informed Mr. Rogawski how many membership credits he had
                                                          8
                                                               remaining on his accounts, and invited him to purchase an audiobook by pressing
                                                          9
                                                               one of two buttons: “Buy with 1 Audible Credit” or “Buy with 1-Click.”
                                                          10
                                                               Immediately under these buttons was the following disclosure: “By completing
                                                          11
                                                               your purchase, you agree to Audible’s Conditions of Use and Privacy Notice.”
                                                          12
                                                                     13.    The “Conditions of Use” language contained a hyperlink to the “The
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                                                          13
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                                                               Audible Service Conditions of Use” in effect at that time. Exhibit 3 is a printout of
                                                          14
                                                               “The Audible Service Conditions of Use” that were effective at the time of Mr.
                                                          15
                                                               Rogawski’s September 30, 2015 credit redemption. That webpage contained the
                                                          16
                                                               following dispute resolution provision:
                                                          17                DISPUTES
                                                          18                Any dispute or claim relating in any way to your use
                                                                            of the Audible Service will be resolved by binding
                                                          19                arbitration, rather than in court, except that you may
                                                                            assert claims in small claims court if your claims qualify.
                                                          20                The Federal Arbitration Act and federal arbitration law
                                                                            apply to this agreement.
                                                          21                There is no judge or jury in arbitration, and court
                                                          22                review of an arbitration award is limited. However,
                                                                            an arbitrator can award on an individual basis the
                                                          23                same damages and relief as a court (including
                                                                            injunctive and declaratory relief or statutory
                                                          24                damages), and must follow the terms of these
                                                                            Conditions of Use as a court would.
                                                          25                To begin an arbitration proceeding, you must send a
                                                                            letter requesting arbitration and describing your claim to
                                                          26                our registered agent: Corporation Service Company, 300
                                                                            Deschutes Way SW, Suite 304, Tumwater, WA 98051.
                                                          27                The arbitration will be conducted by the American
                                                                            Arbitration Association (AAA) under its rules, including
                                                          28                the AAA’s Supplementary Procedures for Consumer-
                                                                GUNE DECL. ISO AUDIBLE’S
                                                                MTN TO COMPEL
                                                                ARBITRATION                                6       Case No. 2:17-cv-1941 GW(Ex)
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                                                           1                Related Disputes. The AAA’s rules are available at
                                                                            www.adr.org or by calling 1-800-778-7879. Payment of
                                                           2                all filing, administration and arbitrator fees will be
                                                                            governed by the AAA’s rules. We will reimburse those
                                                           3                fees for claims totaling less than $10,000 unless the
                                                                            arbitrator determines the claims are frivolous. Likewise,
                                                           4                Audible will not seek attorneys' fees and costs in
                                                                            arbitration unless the arbitrator determines the claims are
                                                           5                frivolous. You may choose to have the arbitration
                                                                            conducted by telephone, based on written submissions, or
                                                           6                in person in the county where you live or at another
                                                                            mutually agreed location.
                                                           7                We each agree that any dispute resolution
                                                           8                proceedings will be conducted only on an individual
                                                                            basis and not in a class, consolidated or representative
                                                           9                action. If for any reason a claim proceeds in court rather
                                                                            than in arbitration we each waive any right to a jury
                                                          10                trial. We also both agree that you or we may bring suit in
                                                                            court to enjoin infringement or other misuse of
                                                          11                intellectual property rights.

                                                          12 Exhibit 3 at 3 (bold in original).
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                                                          13         14.    Audible subsequently changed the flow for redeeming credits through
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                                                          14 the Amazon desktop website. The change in the credit redemption flow on
                                                          15 Amazon.com from how it appeared in Exhibit 2 to the subsequent flow required an
                                                          16 architectural change in the system used to host the buy box on that page. Internal
                                                          17 system logs show that the earliest that the architectural change could have been put
                                                          18 into user testing is August 18, 2015, with a full public roll out occurring in late
                                                          19 2015. Based on Audible’s internal recordkeeping, Mr. Rogawski was not part of
                                                          20 the user testing group for the credit redemption flow, or any other user testing
                                                          21 group, during the time of the September 30, 2015 transaction. Accordingly, on that
                                                          22 occasion he was shown the disclosures in Exhibit 2, above.
                                                          23         15.    I have reviewed the user flow that former Plaintiff Seth Beals used
                                                          24 while redeeming membership credits through the Amazon desktop website between
                                                          25 May and August 2015. See Dkt. 41-1 [Massello Declaration] at ¶¶ 13-16, Ex. 5.
                                                          26 The user flow that Mr. Rogawski encountered and used to redeem credits in
                                                          27 September 2015 is the same user flow that Mr. Beals used, with the same
                                                          28 disclosures and same Conditions of Use.
                                                              GUNE DECL. ISO AUDIBLE’S
                                                              MTN TO COMPEL
                                                              ARBITRATION                            7            Case No. 2:17-cv-1941 GW(Ex)
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                                                          1
                                                                     16.    Mr. Rogawski also redeemed credits on the Audible desktop website
                                                          2
                                                               on October 18, 2017 and on the Audible mobile website on November 25, 2017.
                                                          3
                                                               Exhibit 4 is a table of data pulled from Audible’s records reflecting the dates and
                                                          4
                                                               times of Mr. Rogawski’s October 18, 2017 and November 25, 2017 credit
                                                          5
                                                               redemptions. Again, the columns titled “enc_customer_id” and “customer_key”
                                                          6
                                                               contain unique identifiers for Mr. Rogawski’s account, which have been redacted to
                                                          7
                                                               protect Mr. Rogawski’s privacy; meanwhile, the “purchase_datetime” and
                                                          8
                                                               “credit_consumed_date” fields show when the credit redemption occurred.
                                                          9
                                                               Exhibit 5 is a table of data pulled from Audible’s records of clickstream data
                                                          10
                                                               corresponding to these redemptions. The “site_variant” field shows what versions
                                                          11
                                                               of the Audible website Mr. Rogawski’s redemptions occurred on. The data shows
                                                          12
                                                               that Mr. Rogawski’s October 18, 2017 redemption happened on the Audible
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                                                          13
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                                          MOUNTAIN VIEW




                                                               desktop website, and that his November 25, 2017 redemption happened on the
                                                          14
                                                               Audible mobile website.
                                                          15
                                                                     17.    For his October 18, 2017 redemption on the Audible desktop website,
                                                          16
                                                               Mr. Rogawski selected an audiobook, navigated to the corresponding webpage for
                                                          17
                                                               that audiobook on the Audible website, and had to click either the “Buy Now with 1
                                                          18
                                                               Credit” or “Add to Cart” button to redeem. Exhibit 6 is a screenshot of a webpage
                                                          19
                                                               on the Audible.com desktop website from which a user could redeem a membership
                                                          20
                                                               credit for an Audible audiobook at the time Mr. Rogawski engaged in the October
                                                          21
                                                               18, 2017 transaction. Our records indicate that Mr. Rogawski clicked the “Buy
                                                          22
                                                               Now with 1 Credit” button and, as such, he would have seen, in precisely the same
                                                          23
                                                               location on screen, a button that read “Confirm Purchase.” Exhibit 7 is a
                                                          24
                                                               screenshot of the next page in the redemption flow on the Audible desktop website
                                                          25
                                                               that Mr. Rogawski clicked through. Immediately under that button, he would have
                                                          26
                                                               seen a hyperlinked disclosure. Currently, as reflected in Exhibit 7, above, the
                                                          27
                                                               disclosure reads: “By confirming your purchase, you agree to Audible’s Conditions
                                                          28
                                                               GUNE DECL. ISO AUDIBLE’S
                                                               MTN TO COMPEL
                                                               ARBITRATION                               8        Case No. 2:17-cv-1941 GW(Ex)
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                                                          1
                                                               of Use and Amazon’s Privacy Notice. Taxes where applicable.” And it includes a
                                                          2
                                                               blue hyperlink to “The Audible Service Conditions of Use.”
                                                          3
                                                                     18.    The actual language in the disclosure that Mr. Rogawski saw during
                                                          4
                                                               his October 18, 2017 transaction was only slightly different than the disclosure
                                                          5
                                                               language in Exhibit 7, above. Exhibit 8 is a record reflecting recent language that
                                                          6
                                                               has appeared in the disclosure for the Audible desktop redemption flow shown in
                                                          7
                                                               Exhibit 7, above. It shows that during Mr. Rogawski’s October 18, 2017
                                                          8
                                                               transaction, the disclosure in the desktop redemption flow included hyperlinks and
                                                          9
                                                               read as follows: “By clicking on the Confirm Purchase button, you agree to
                                                          10
                                                               Audible’s Conditions of Use and Amazon’s Privacy Notice.”
                                                          11
                                                                     19.    The “Conditions of Use” language in the Audible desktop disclosures,
                                                          12
                                                               both those reflected in Exhibit 7 and Exhibit 8, contained a blue hyperlink. Had
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                                                               Mr. Rogawski pressed the link, he would have navigated to a document called
                                                          14
                                                               “Audible Service Conditions of Use.” Exhibit 9 is a printout of the current
                                                          15
                                                               “Audible Service Conditions of Use,” which were last updated on July 19, 2017.
                                                          16
                                                               The Audible Service Conditions of Use contain the following dispute resolution
                                                          17
                                                               provision:
                                                          18                Disputes; Limitation of Liability
                                                          19                Any dispute or claim arising from or relating to these Terms or
                                                                            your use of the Service is subject to the binding arbitration,
                                                          20                governing law, disclaimer or warranties, limitation of liability and
                                                                            all other terms in the Amazon.com Conditions of Use.
                                                          21
                                                               Exhibit 9 at 2 (bold in original).
                                                          22
                                                                     20.    The term “Amazon.com Conditions of Use” in the Audible Conditions
                                                          23
                                                               of Use appeared in bold blue font and included a hyperlink as well. Had Mr.
                                                          24
                                                               Rogawski clicked on the link, he would have been directed to an Amazon.com page
                                                          25
                                                               titled “Conditions of Use.” Exhibit 10 is a printout of the Amazon.com Conditions
                                                          26
                                                               of Use, which were last updated on October 3, 2017. The Amazon.com Conditions
                                                          27
                                                               of Use contain the following dispute resolution provision:
                                                          28
                                                                GUNE DECL. ISO AUDIBLE’S
                                                                MTN TO COMPEL
                                                                ARBITRATION                              9       Case No. 2:17-cv-1941 GW(Ex)
                                          Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 10 of 13 Page ID #:1853



                                                          1
                                                          2                 DISPUTES
                                                          3                 Any dispute or claim relating in any way to your use
                                                                            of any Amazon Service, or to any products or services
                                                          4                 sold or distributed by Amazon or through
                                                                            Amazon.com will be resolved by binding arbitration,
                                                          5                 rather than in court, except that you may assert claims
                                                                            in small claims court if your claims qualify. The Federal
                                                          6                 Arbitration Act and federal arbitration law apply to this
                                                                            agreement.
                                                          7                 There is no judge or jury in arbitration, and court
                                                                            review of an arbitration award is limited. However,
                                                          8                 an arbitrator can award on an individual basis the
                                                                            same damages and relief as a court (including
                                                          9                 injunctive and declaratory relief or statutory
                                                                            damages), and must follow the terms of these
                                                          10                Conditions of Use as a court would.
                                                          11                To begin an arbitration proceeding, you must send a
                                                                            letter requesting arbitration and describing your claim to
                                                          12                our registered agent: Corporation Service Company, 300
                                                                            Deschutes Way SW, Suite 304, Tumwater, WA 98051.
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                                                          13                The arbitration will be conducted by the American
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                                                                            Arbitration Association (AAA) under its rules, including
                                                          14                the AAA's Supplementary Procedures for Consumer-
                                                                            Related Disputes. The AAA’s rules are available at
                                                          15                www.adr.org or by calling 1-800-778-7879. Payment of
                                                                            all filing, administration and arbitrator fees will be
                                                          16                governed by the AAA’s rules. We will reimburse those
                                                                            fees for claims totaling less than $10,000 unless the
                                                          17                arbitrator determines the claims are frivolous. Likewise,
                                                                            Audible will not seek attorneys’ fees and costs in
                                                          18                arbitration unless the arbitrator determines the claims are
                                                                            frivolous. You may choose to have the arbitration
                                                          19                conducted by telephone, based on written submissions, or
                                                                            in person in the county where you live or at another
                                                          20                mutually agreed location.

                                                          21                We each agree that any dispute resolution
                                                                            proceedings will be conducted only on an individual
                                                          22                basis and not in a class, consolidated or representative
                                                                            action. If for any reason a claim proceeds in court rather
                                                          23                than in arbitration we each waive any right to a jury
                                                                            trial. We also both agree that you or we may bring suit in
                                                          24                court to enjoin infringement or other misuse of
                                                                            intellectual property rights.
                                                          25
                                                               Exhibit 10 at 3-4 (bold in original). This dispute resolution provision is virtually
                                                          26
                                                               identical to the one that appears in the historical Audible Conditions of Use, except
                                                          27
                                                               that it covers disputes or claims “relating in any way to your use of any Amazon
                                                          28
                                                                GUNE DECL. ISO AUDIBLE’S
                                                                MTN TO COMPEL
                                                                ARBITRATION                              10        Case No. 2:17-cv-1941 GW(Ex)
                                          Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 11 of 13 Page ID #:1854



                                                          1
                                                               Service, or to any products or services sold or distributed by Amazon or
                                                          2
                                                               through Amazon.com . . . .” By contrast, the corresponding provision of the
                                                          3
                                                               historical Audible Conditions of Use covers “[a]ny dispute or claim relating in
                                                          4
                                                               any way to your use of the Audible Service . . . .” Exhibit 3 at 3.
                                                          5
                                                                     21.   Mr. Rogawski also redeemed membership credits by way of the
                                                          6
                                                               Audible mobile website flow. He redeemed a membership credit this way on at
                                                          7
                                                               least one occasion, November 25, 2017. In order to redeem a credit using the
                                                          8
                                                               mobile website at that time, Mr. Rogawski selected an audiobook, navigated to the
                                                          9
                                                               corresponding mobile webpage for that audiobook on the Audible website, and had
                                                          10
                                                               to click the “Buy Now with 1 Credit” button to redeem. Exhibit 11 is a
                                                          11
                                                               compilation of screenshots of a webpage for an audiobook selection on the
                                                          12
                                                               Audible.com mobile website from which a user could redeem a membership credit
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                                                          13
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                                          MOUNTAIN VIEW




                                                               for an Audible audiobook at the time Mr. Rogawski engaged in the November 25,
                                                          14
                                                               2017 transaction. Our records indicate that Mr. Rogawski clicked the “Buy Now
                                                          15
                                                               with 1 Credit” button and, as such, he would have seen, in precisely the same
                                                          16
                                                               location on screen where the “Buy Now with I Credit” button was (with no need to
                                                          17
                                                               scroll further), a button that read “Confirm Purchase.” Exhibit 12 is a screenshot
                                                          18
                                                               of the next step in the redemption flow on the Audible mobile website that Mr.
                                                          19
                                                               Rogawski clicked through. Immediately under “Confirm Purchase” button, Mr.
                                                          20
                                                               Rogawski would have seen a hyperlinked disclosure. The disclosure reads: “By
                                                          21
                                                               confirming your purchase, you agree to Audible’s Conditions of Use and Amazon’s
                                                          22
                                                               Privacy Notice. Taxes where applicable.” It also includes a blue hyperlink to “The
                                                          23
                                                               Audible Service Conditions of Use,” which incorporate by reference the arbitration
                                                          24
                                                               agreement under the Amazon Conditions of Use. See Exhibits 9 and 10, above.
                                                          25
                                                                                 Plaintiff Weber’s Use of the Audible Service
                                                          26
                                                                     22.   The Second Amended Complaint states that Plaintiff Eric Weber
                                                          27
                                                               signed up for a 30-day trial Audible membership in May 2017. Dkt. No. 65 ¶ 16. I
                                                          28
                                                               GUNE DECL. ISO AUDIBLE’S
                                                               MTN TO COMPEL
                                                               ARBITRATION                              11       Case No. 2:17-cv-1941 GW(Ex)
                                          Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 12 of 13 Page ID #:1855



                                                          1
                                                               have investigated Mr. Weber’s activity on the Audible service, noting records that
                                                          2
                                                               reach back to a free trial membership for Mr. Weber beginning on March 22, 2013,
                                                          3
                                                               which converted to a paid membership thirty days later on April 21, 2013. I have
                                                          4
                                                               reviewed records that Audible keeps in the ordinary course of business that reflect
                                                          5
                                                               the disclosures that Mr. Weber saw when signing up for and redeeming credits on
                                                          6
                                                               the Amazon and Audible services, including his transactions in 2017. I summarize
                                                          7
                                                               this account history below.
                                                          8
                                                                     23.   On March 22, 2013, Mr. Weber signed up for an Audible “Gold
                                                          9
                                                               Monthly” membership that included a 30-day free trial on Audible.com, using his
                                                          10
                                                               existing Amazon account. Under this trial membership program, Audible gave Mr.
                                                          11
                                                               Weber a free membership credit, which Mr. Weber redeemed at the time of his
                                                          12
                                                               sign-up.
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                                                          13
                       ATTORNEYS AT LAW
                                          MOUNTAIN VIEW




                                                                     24.   Mr. Weber did not cancel his trial within thirty days, and became a full
                                                          14
                                                               member with a Gold Monthly membership on April 21, 2013. Under that plan,
                                                          15
                                                               Audible issued a membership credit to Mr. Weber on the 21st day of each month.
                                                          16
                                                               Between March 2013 and December 2017, Mr. Weber received and redeemed
                                                          17
                                                               sixty-nine membership credits, obtaining sixty-nine audiobooks. Mr. Weber
                                                          18
                                                               remains a current Gold Monthly member of Audible today.
                                                          19
                                                                     25.   Audible’s internal records show that Mr. Weber redeemed at least
                                                          20
                                                               three membership credits on the Audible mobile website: he redeemed two on
                                                          21
                                                               October 24, 2017 and one December 2, 2017. Exhibit 13 is a table of data pulled
                                                          22
                                                               from Audible’s records reflecting the dates and times of Mr. Weber’s October 24,
                                                          23
                                                               2017 and December 2, 2017 credit redemptions. The columns titled
                                                          24
                                                               “enc_customer_id” and “customer_key” contain unique identifiers for Mr.
                                                          25
                                                               Rogawski’s account, which have been redacted to protect Mr. Rogawski’s privacy;
                                                          26
                                                               meanwhile, the “purchase_datetime” and “credit_consumed_date” fields show
                                                          27
                                                               when the credit redemption occurred. Exhibit 14 is a table of data pulled from
                                                          28
                                                               GUNE DECL. ISO AUDIBLE’S
                                                               MTN TO COMPEL
                                                               ARBITRATION                              12       Case No. 2:17-cv-1941 GW(Ex)
          Case 2:17-cv-01941-GW-E Document 73-1 Filed 01/22/18 Page 13 of 13 Page ID #:1856



                1
                    Audible's records of clickstream data c01responding to these redemptions; the
                2
                    "site variant" field shows what version of the Audible website Mr. Weber's
                3
                    redemptions occurred on. As Exhibit 14 reflects, all three of these redemptions
                4
                    occuned on the Audible mobile website.
                5
                           26.   Mr. Weber's credits redemptions on the Audible mobile website on
                6
                    October 24, 2017 and December 2, 2017 used the same mobile redemption flow as
                7
                    Mr. Rogawski did for his November 25, 2017 redemption, which I discuss in
                8
                    Paragraph 21, above. To redeem these credits through the Audible mobile website,
                9
                    Mr. Weber selected the title of his choice, and clicked a virtual button that read
               10
                    "Buy Now with 1 Credit." See Exhibit 11, above. When he clicked the "Buy Now
               11
                    with 1 Credit" button to redeem a credit for his October 24, 2017 and December 2,
p..
               12
,_J
,_J ~
                    2017 transactions, Mr. Weber would have then seen the "Confirm Purchase" button
 .... <(?;.
 <I)__,  w
       I->     13
Lil

2!::   ~ "<         appear in the same location on the screen of his mobile device where the "Buy Now
~      >-

G ~ g 14
       w ...


i:: ~               with 1 Credit" button was. Immediately under that button, Mr. Weber would see a
z <
"'
µ.
      15
                    disclosure that read: "By confirming your purchase, you agree to Audible's
               16
                    Conditions of Use and Amazon's Privacy Notice. Taxes where applicable." See
               17
                    Exhibit 12, above. Again, the "Conditions of Use" language was a hyperlink; had
               18
                    Mr. Weber clicked it, he would have been directed to the Audible Conditions of
               19
                    Use, which incorporate by reference the Amazon Conditions of Use and its
               20
                    arbitration agreement. See Exhibits 9 and 10, above.
               21
               22
                          I declare under penalty of pe1jury under the laws of the United States that the
               23
                    foregoing is true and correct.
               24
                          Executed on this 22nd day of January, 2018, in
               25
               26                                          Aniket Gune
               27
               28
                    GUNE DECL. ISO AUDIBLE'S
                    MTN TO COMPEL
                    ARBITRATION                               13       Case No. 2:l 7-cv- 1941 GW(Ex)
